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UN|TED STATES OF AMER|CA

 

Plaintiff

VS.
CR. NO. 04-20474-D

WALTER VOWELL.
KATHER|NE SUE PRATT

Defendant.

 

oRDER 0N coNTiNuANcE ANo sPEchYiNG PERioD oF E)<ci_quBi_E DELAY
AND S_E.E_l\§

 

This cause came on for a report date on August 25, 2005. At that time, counsel for
the defendant requested a continuance of the September 6, 2005 trial date in order to
allow for additional preparation in the case.

The Court granted the request and reset the trial date to October 3, 2005 with a
re ort date of Thursda Se tember 22 2005 at 9:00 a.m., in Courtroom 3. 9th Floor

 

of the Federa| Bui|ding, |Vlemphis, TN.

The period from September 16, 2005 through October 14, 2005 is excludable
under 18 U.S.C. § 3161(h)(8)(B)(iv) because the ends of justice served in allowing for
additional time to prepare outweigh the need for a speedy tria|.

iT ls so oRoERED this zag_ day or september, 2005.

 

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UNITED sATE DSTIIC COURT - WE"RNT DISTRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 43 in
case 2:04-CR-20474 Was distributed by faX, mail, or direct printing on
September 8, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

